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                    UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

JAMESON TAYLOR ANDERSON,
ROBERT DEAN ANDERSON, and                CONSOLIDATED CASES
ROGER MALDONADO,                         PURSUANT TO FED. R. CIV. P. 42
       Plaintiffs,                       Civil Action File No.
              v.                         1:19-cv-05582-VMC
USI INSURANCE SERVICES LLC,

       Defendant.

USI INSURANCE SERVICES LLC,

       Plaintiff,                        Civil Action File No.

              v.                         1:20-cv-02490-VMC

SOUTHEAST SERIES OF
LOCKTON COMPANIES, LLC,

       Defendant.

       USI INSURANCE SERVICES LLC’S RESPONSES TO
SOUTHEAST SERIES OF LOCKTON COMPANIES, LLC’S MOTIONS IN
                LIMINE (2020 CASE, DOC. 230)

      Pursuant to the Pretrial Order entered in this consolidated action and this

Court’s Standing Order, USI Insurance Services LLC (“USI”) submits the following

responses in opposition to the Motions in Limine filed by Southeast Series of

Lockton Companies, LLC (“Lockton”). For the reasons stated below, each of

Lockton’s Motions should be denied.
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                                   INTRODUCTION

      USI opposes each of the motions in limine (2020 Case, Doc. 230) filed by

Southeast Series of Lockton Companies, LLC (“Lockton”). The Court should deny

each of Lockton’s requests to exclude relevant evidence. Clearly disappointed with

this Court’s summary judgment rulings in both this action (Civ. Action No. 1:20-cv-

02490-VMC) (“2020 Case”) (Doc. 174) and in the companion action (Civ. Action

No. 1:19-cv-05582-VMC) (“2019 Case”) (Doc. 286), Lockton and the Former

Employees have filed a litany of meritless requests to exclude evidence. Lockton

and the Former Employees essentially seek to exclude evidence of the very conduct

for which they are now on trial.

      In several instances, Lockton and the Former Employees boldly ask this

Court, on the eve of trial, either to disregard or reconsider important aspects of this

Court’s thorough and well-reasoned summary judgment orders, which were decided

more than a year ago, without telling the Court they are asking for reconsideration.

These requests are improper because Lockton and the Former Employees never filed

a motion to reconsider those rulings and because they have not presented any valid

ground for reconsideration.1 Moreover, as shown by the summary judgment orders,


1
   Motions for reconsideration may only be filed upon narrow and limited
circumstances, as to where “absolutely necessary to correct a clear error or prevent
a manifest injustice.” Cellairis Franchise, Inc. v. Duarte, No. 2:15–cv–00101–
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the evidence at issue is not only admissible, but is in most cases highly critical and

essential evidence. USI respectfully asks the Court to deny Lockton’s and the

Former Employees’ requests, which would exclude critical evidence and deprive

USI of a fair and complete trial.

1.     Evidence of the Former Employees’ and Lockton’s whole process and
       scheme is squarely relevant to USI’s remaining claims.

       The Court should deny Lockton’s first motion in limine, which improperly

seeks to restrict the evidence at trial “to the sole question of solicitation.” (2020 Case,

Doc. 230 at 4.) Lockton ignores that, in addition to USI’s claims for breach of the

Former Employees’ non-solicitation agreements, the remaining claims as to which

liability is still at issue include:

       1) USI’s claim for attorneys’ fees and expenses of litigation under O.C.G.A.
          § 13-6-11 against the Former Employees (2019 Case, Count VIII);

       2) USI’s claim for punitive damages against Dean Anderson and Taylor
          Anderson (2019 Case, Count IX);

       3) USI’s claim for tortious interference with contractual and business
          relations against Lockton based on Dean Anderson’s and Taylor




WCO, 2016 WL 858787, at *1 (N.D. Ga. Mar. 2, 2016) (citing Pres. Endangered
Areas of Cobb’s History v. U.S. Army Corps of Eng'rs, 916 F. Supp. 1556, 1560
(N.D.Ga.1995)). Motions to reconsider may not be used to raise arguments that
could have been made before, to introduce new legal theories, or merely to tell the
Court how it “could have done better the first time.” Id. Yet this is exactly what
Lockton attempts to do.
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         Anderson’s breaches of their notice provisions and duties of loyalty (2020
         Case, Count I);

      4) USI’s claim for tortious interference with contractual and business
         relations against Lockton based on Dean Anderson’s breaches of his non-
         compete and based on the Former Employees’ breaches of their non-
         solicitation provisions (2020 Case, Count II);

      5) USI’s claim for tortious interference with contractual and business
         relations against Lockton based on the raiding of USI’s Aviation Practice
         Group (2020 Case, Count III);

      6) USI’s claim for attorneys’ fees and expenses of litigation under O.C.G.A.
         § 13-6-11 against Lockton (2020 Case, Count IV); and

      7) USI’s claim for punitive damages against Lockton (2020 Case, Count V).

      This Court has already determined that “[w]ithout question, there is evidence

from which a factfinder could determine that the whole process was a carefully

orchestrated scheme to bring business from USI to Lockton.” 2019 Case, Doc. 286,

at 41 (emphasis added). Evidence of the entire process and scheme is no doubt

relevant to establish liability on USI’s remaining claims as well as damages. Most

plainly, USI’s tortious inference claims against Lockton are based on more than just

facts relating to the Former Employees’ improper solicitations of USI Client

Accounts. The evidentiary restriction Lockton requests would exclude clearly

relevant evidence necessary to prove USI’s remaining substantive claims against

both Lockton and the Former Employees.



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      Moreover, there is no question that such evidence is relevant to establish

USI’s remaining ancillary claims for attorneys’ fees and punitive damages. Evidence

of the entire scheme—and not just evidence of solicitation—goes to support bad

faith and/or stubborn litigiousness under O.C.G.A. § 13-6-11. Such evidence is also

plainly relevant to establish willful misconduct, malice, fraud, wantonness,

oppression, or that entire want of care that would raise the presumption of conscious

indifference to consequences, such as would support USI’s punitive damages claims.

See O.C.G.A. 51-12-5.1(b). Evidence of the entire scheme is also relevant to

establish specific intent to harm.2 See O.C.G.A. § 51-12-5.1(f). Lockton’s motion

improperly attempts to require USI to establish these elements of its attorneys’ fees

and punitive damages claims based on evidence of solicitation alone.

      Further, Lockton contends elsewhere in its motions in limine that a key

remaining question related to damages is “why the client[s] moved to Lockton.” See

2020 Case, Doc. 230 at 6. Evidence of the whole process and scheme and how that

scheme worked on the subject client accounts is no doubt relevant to the question




2
 A party possesses specific intent to cause harm when that party desires to cause the
consequences of its act or believes that the consequences are substantially certain to
result from it. Intent is always a question for the jury. It may be shown by direct or
circumstantial evidence. See Georgia Suggested Pattern Jury Instructions, Civil §
66.711.

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that Lockton contends is central to the remaining damages claims. Such evidence

includes Dean Anderson’s and Taylor Anderson’s wrongful competitive conduct

during their 60-day notice periods and the facts and circumstances of Dean

Anderson’s work for clients after they transferred to Lockton. These relevant facts

are not limited to the question of improper solicitation.

       While the jury will hear that the Former Employees breached certain of their

contractual provisions and duties to USI, those statements are certainly not sufficient

to allow the jury to determine USI’s remaining substantive and ancillary claims, or

the damages questions as Lockton itself articulates them. Given the issues remaining

to be determined, Lockton identifies no legitimate basis to restrict the evidence at

trial to “the sole question of solicitation.”

2.     Evidence of Dean Anderson’s non-compete violations is relevant and
       admissible.

       Evidence of Dean Anderson’s violations of his two non-compete restrictions

is not only plainly relevant evidence, but is essential evidence. Lockton’s motion in

limine to try to keep out evidence that directly relates to the non-compete claims to

be tried, as well as several other claims, defies logic. Accordingly, the Court should

deny Lockton’s second motion in limine.

       In its summary judgment Order, the Court granted summary judgment in favor

of USI and against Dean Anderson on the non-competition restriction and the client

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non-competition restriction in Mr. Anderson’s contract with USI. See 2019 Case,

Doc. 286 at 26-34. The Court’s summary judgment ruling, however, was as to

liability only and left unresolved the amount of damages that Mr. Anderson caused

to USI by his breaches. Id. The Court specifically observed: “USI is entitled to

present its evidence to the jury of what damages (such as the loss of client accounts)

were proximately caused by Dean Anderson’s breach of the Non-Compete

Covenant.” Id. at 31. The evidence of specifically which actions Dean Anderson

took in violation of his non-compete covenants is necessary to determine the scope

of his breaches and the damages resulting from his breaches.

      As outlined at length in prior briefing and this Court’s prior Orders, after

accepting employment with Lockton, Dean Anderson continued to work in the same

capacity as he had worked at USI with many of the same clients that he had worked

with at USI. See 2019 Case, Doc. 286 at 18-19 (summary judgment Order outlining

certain evidence of Dean Anderson’s non-compete violations), 29-30 (finding that

Mr. Anderson engaged in competitive activity in violation of his non-compete

restrictions); 2019 Case, Doc. 237-1 at 9-18 (USI’s summary judgment brief

outlining Mr. Anderson’s non-compete breaches); 2019 Case, Doc. 114 at 4-5

(preliminary injunction Order outlining Mr. Anderson’s non-compete breaches).




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This Court held that Mr. Anderson, through such conduct, breached his non-compete

restrictions as a matter of law. See 2019 Case, Doc. 286 at 26-34.

      While Dean Anderson’s liability has been established as a matter of law,

evidence of what Mr. Anderson actually did in violation of his non-competes is

relevant to proving USI’s damages. Dean Anderson’s actions at Lockton are relevant

to establish the scope of Mr. Anderson’s breaches, including to establish which

clients Mr. Anderson worked with in violation of his non-competes and the extent

to which Mr. Anderson’s breaches were a necessary component of the transfers of

USI’s clients to Lockton.

      In addition, contrary to Lockton’s assertion, evidence of Dean Anderson’s

non-compete breaches, including his work with clients and Lockton’s aviation team

after he moved to Lockton, are in fact probative of the cause of the damages and the

issue of why certain clients moved to Lockton. If a client moved to Lockton to

continue to work with Mr. Anderson in violation of his non-competes, the fact that

Mr. Anderson did, in fact, continue to work with that client immediately after the

transfer is certainly evidence of why the client moved to Lockton. If a client

continued to work with Mr. Anderson, that is probative that the client’s motivation

in moving to Lockton was to continue to work with Mr. Anderson and thus probative

of the fact that Mr. Anderson’s violation of his non-competes caused the damages.


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Because Mr. Anderson’s working with a client in violation of his non-compete

makes it “more probable” that the client moved to Lockton to continue to work with

Mr. Anderson, such evidence easily passes the threshold for relevancy. See Fed. R.

Evid. 401.

      In addition, the evidence of Mr. Anderson’s non-compete violations is also

relevant to USI’s tortious interference claim against Lockton. The issues of both

liability and damages are to be tried on this claim. It is self-evident that evidence of

Lockton’s inducement of Mr. Anderson to breach his non-compete restrictions and

specifically what Lockton induced Mr. Anderson to do in violation of his non-

competes is relevant to both liability and damages on the tortious interference claim.

Moreover, the specific details of Mr. Anderson’s blatant, repeated, and intentional

violations of his non-compete covenants are also relevant to both USI’s O.C.G.A §

13-6-11 claim in both cases and USI’s punitive damages claim against Lockton in

this case, as Lockton, after having its attorneys review his USI employment

agreement, hired Mr. Anderson to hold the same position and work with the exact

same clients as he did at USI, notwithstanding that doing so directly and

unquestionably violated Mr. Anderson’s non-competes.




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3.    The Court should deny Lockton’s attempt to exclude comments
      regarding attorney involvement in the underlying scheme.

      As outlined above, Lockton carefully orchestrated the departures of Taylor

Anderson, Dean Anderson and Roger Maldonado from USI. Part of that planning

involved the use of Lockton’s lawyers and the filing of a preemptive lawsuit the day

after those Former Employees resigned. Yet Lockton now takes the extraordinary

position that, notwithstanding its strategy to involve lawyers in the review of the

Former Employees’ agreements while they were still employed at USI and to advise

those Former Employees regarding the very covenants that are at the heart of this

dispute, USI should not be able to introduce any evidence that Lockton used lawyers

to help deploy its scheme. Lockton’s attempt to use the attorney-client privilege and

common interest privilege as both a sword and a shield should be completely

rejected. Leaving aside the dubious nature of a privilege claim over conversations

with individuals who were not yet associated with Lockton,3 Lockton’s attempt to




3
  “It is axiomatic that corporate communications must have remained confidential in
order to be protected by the attorney-client privilege; in other words, the
communications must not have been disclosed to anyone outside the corporation or
to anyone within the corporation who was not authorized to receive them.” Georgia
Cash Am., Inc. v. Strong, 286 Ga. App. 405, 412, 649 S.E.2d 548, 555 (2007).

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prevent USI from even discussing the involvement of Lockton’s lawyers is a gross

overreach and this motion in limine should be denied.

      While USI agrees that it cannot inquire as to the substance of truly protected

attorney-client privileged communications, the fact that the individual defendants

met with lawyers from Lockton to plan their departure is part-and-parcel of USI’s

claims against Lockton.4 The fact that meetings with an attorney occurred (as

opposed to the substance of those meetings) is in no way privileged.5 To that end,


4
  Lockton’s claim that a privilege applies to meetings between a then-employee of
USI, employees of Lockton, and corporate counsel for Lockton is dubious at best.
Nevertheless, any potential privileges that might have existed over the fact the
meeting occurred and the general topics discussed at that meeting have been waived.
See R. Maldonado Dep. (2020 Case, Doc. 92-1) at 115:21-121:13 (Mr. Maldonado
disclosing without objection “as to general topics” the substance of the meeting at
issue and stating: “We talked about the opportunity and how the covenants of my
contract would play into that.”). Similarly, Taylor Anderson freely and frequently
offered that he “[t]ook advice of counsel” related to his resignation and contracts
with USI. See, e.g., T. Anderson Dep. (2020 Case, Doc. 93-1) at 58:20-59:2 (“Q:
And did you believe that you were complying with that provision at the time you
submitted the notice of resignation? A. Took advice of counsel.”); id. at 61:4 (“I took
advice from counsel[.]”); id. at 62:4-13 (“At the direction of counsel …. At the
advice of counsel.”). Taylor Anderson went so far as to testify that the reason he
could not give 60-days’ notice as his contract required was that “I took advice of my
counsel.” Id. at 172:12-25. Surely Lockton does not believe this extremely relevant
evidence should be excluded, yet this is the relief it seeks.
5
  See Goddard v. United States, 131 F.2d 220, 221 (5th Cir. 1942) (privilege
“extend[s] only to the communications made in the attorney-client relationship, not
to the fact that such a relationship existed.”); St. Simons Waterfront, LLC v. Hunter,
Maclean, Exley & Dunn, P.C., 293 Ga. 419, 426 (2013) (“In general, the privilege
attaches only to communications made in the course of an attorney-client
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those facts were the subject of discovery (see n.4, supra) and have been extensively

analyzed and relied upon by the Court as part of the scheme at issue. See 2020 Case,

Doc. 174 at 15 (“Dean Anderson and Sharma met with Wit Hall, a lawyer referred

to by Sharma as ‘our lawyer.’”); id. at 16 (same for Mr. Maldonado); id. at 16

(Lockton made indemnification of the Former Employees subject to their

compliance with the advice of Lockton’s counsel); id. at 17 (“Lockton’s counsel

regularly met with new hires to ‘advise them on their rights and responsibilities pre-

resignation, resignation, post-resignation’ and so the new hires could ‘answer any

questions that … counsel would have about their employment contract.”); id. at 18

(“Interaction with Counsel” section of summary judgment Order outlining the

numerous meetings between the Former Employees and Lockton’s counsel); id. at

20 (Dean and Taylor Anderson obtained assistance from Lockton’s counsel in

preparing their resignation letters).

      In denying Lockton’s motion for summary judgment as to USI’s tortious

interference claims, the Court correctly relied on the fact that Lockton provided the

Former Employees with counsel as part of the scheme to induce them to violate their


relationship.”) (emphasis added; quotation marks and citation omitted); Tenet
Healthcare Corp. v. Louisiana F. Corp., 273 Ga. 206, 208 (2000) (evaluating
privilege issues and noting that privilege must be narrowly construed); Smith v.
Smith, 222 Ga. 694, 699, 152 S.E.2d 560, 565 (1966) (“The fact of an attorney’s
employment is properly admitted in evidence.”).
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contractual obligations to USI. See 2020 Case, Doc. 174 at 42 (“Lockton and its

counsel also directed the strategy and provided substantial support to the Former

Employees pre-resignation regarding planning their simultaneous departure dates

and advice about resignation letters and notices to USI’s clients of their departure.”).

The Court relied on the Carroll Anesthesia case, which recognized that the new

employer providing the advice of its counsel to induce employees to breach their

contractual obligations owed to their prior employer supports a tortious interference

claim. See 2020 Case, Doc. 174 at 33 (citing Carroll Anesthesia Assocs., P.C. v.

AnestheCare, Inc., 234 Ga. App. 646, 507 S.E.2d 829 (1998)). Accordingly, there is

no basis to grant this motion in limine.

      Further, USI does not intend to ask for an “adverse inference” based on the

fact that the meetings occurred, but does intend to ask the jury to infer that Lockton

orchestrated this wrongful scheme, and the fact that Lockton involved its lawyers at

every step is part of that story. Nevertheless, USI is certainly entitled to introduce

evidence that Lockton’s lawyers were involved from the outset and helped

orchestrate the scheme that involved the common law and contractual breaches of

contract. That lawyers were involved in Lockton’s tortious interference does not

make that fact inadmissible, unfairly prejudicial, or otherwise excludable. It makes




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Lockton’s conduct appear choreographed – as it was – and USI is entitled to argue

as such.

      No case cited by Lockton in their motion comes close to providing a legal

basis to exclude questions regarding Lockton’s lawyers’ involvement. For example,

In re Terazosin Hydrochloride Antitrust Litigation discusses that a negative

inference can be drawn from the invocation of privilege in bad faith in the patent

context. 335 F. Supp. 2d 1336, 1365 (S.D. Fl. 2004). In short, Lockton’s assertion

that “it is not appropriate for counsel to comment upon or for the jury to be permitted

to draw an adverse inference from a party’s rightful choice not to introduce

privileged documents, testimony, or information at trial” is not supported by the case

law it cites. Doc. 230 at 10. Indeed, Lockton fails to cite any law involving a situation

like the one here where a company’s legal counsel helped a competitor’s employees

breach their prior employment contracts.

       In sum, the fact that Lockton’s lawyers met with USI employees should not

be excluded. The jury can draw whatever inference from those meetings that it

wants. So long as USI does not seek to introduce the substance of privileged




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communications between a lawyer and his/her client, there is no need for any

limitation with respect to Lockton’s third motion in limine.

4.    As already decided by this Court, Lockton’s provision of legal counsel
      and indemnification to the Former Employees is evidence of Lockton’s
      wrongful conduct and inducement supporting tortious interference.

      This Court should deny Lockton’s fourth motion in limine because it attempts

to relitigate an issue that was decided on summary judgment and because applicable

Georgia law directly contradicts Lockton’s position. Lockton has already argued on

summary judgment that “providing legal counsel to the Andersons could not be

deemed inherently ‘wrongful in itself,’” so as to support a claim for tortious

interference. See 2020 Case, Doc. 137 at 15. In response, USI cited Carroll

Anesthesia Assocs., P.C. v. AnestheCare, Inc., which held that an agreement by a

new employer to indemnify a newly recruited employee as to legal challenges

concerning the covenants can support a claim for interference with the former

employer’s valid restrictive covenants with the recruit and encouragement for the

recruit to breach those covenants. 234 Ga. App. 646 (1998) (reversing summary

judgment and finding jury question as to this issue).

      This Court ruled that Lockton’s providing the Former Employees with “legal

counsel and indemnity with regard to any legal challenges” was evidence of

improper conduct under Georgia law to support USI’s tortious interference claims


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against Lockton. 2020 Case, Doc. 174 at 37. Judge Jones found Carroll Anesthesia

“factually similar to the instant case in [five] respects.” Id. at 33 (emphasis added).

He specifically enumerated that Carroll Anesthesia involved a business competitor

that “executed indemnity agreements” with employees that owed post-term

obligations to their former employer, that the employees breached those covenants

“relying on the indemnity agreements and advice of [the competitor’s] counsel,” and

that the competitor provided legal counsel to the employees in the litigation

concerning the post-term covenants. Id. at 33.

      Lockton’s fourth motion in limine completely ignores this Court’s prior

rulings in this case and fails to cite or even attempt to distinguish applicable Georgia

law that this Court found directly on point. Most of the smattering of non-Georgia

cases Lockton cites are completely off-base, addressing issues of attorney-client

privilege, a minor’s right to counsel in juvenile court on a traffic violation charge,

and a criminal defendant’s Sixth Amendment right to counsel.6 Lockton cites no

grounds, moreover, for this Court to follow an unpublished decision of a Superior


6
 See Parker v. Prudential Ins. Co. of Am., 900 F.2d 772, 775 (4th Cir. 1990) (stating
rationale for attorney-client privilege); In re Kathy P., 25 Cal. 3d 91, 102 (Cal. 1979)
(holding that minor was not entitled to be advised of right to retain counsel at her
expense in juvenile court proceeding); U.S. v. Romano, 849 F.2d 812, 818 (3d Cir.
1988) (denial of opportunity to select counsel of choice violated criminal
defendant’s Sixth Amendment rights).

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Court in Massachusetts pre-dating Carroll Anesthesia rather than apply clearly

governing Georgia law.7 This Court should deny Lockton’s attempt to exclude

evidence of Lockton’s provision of counsel and promise to indemnify the Former

Employees with respect to challenges to their restrictive covenants because this

Court has already correctly deemed such evidence relevant to USI’s claims as a

matter of Georgia law.

5.    Evidence of the Former Employees’ improper use of USI’s confidential
      information is relevant to USI’s pending claims.

      The Court should deny Lockton’s broad-sweeping, non-specific motion to

exclude evidence and argument regarding the Former Employees’ improper use or

misappropriation of USI’s confidential information because such evidence and

argument is relevant to USI’s pending claims. For example, one of the steps in

Lockton’s carefully orchestrated scheme to steal USI’s clients was to direct the

Former Employees to email USI’s clients immediately before or immediately after

submitting their simultaneous notices of resignation to USI. See 2020 Case, Doc.

174 at 20; 2020 Case, Doc. 93-1 at 179:4-179:21 (Taylor Anderson testifying he

discussed sending the unauthorized departure email with his counsel provided by

Lockton); 2020 Case, Doc. 92-1 at 173:4-179:13 (same for Roger Maldonado).

7
 See Hanna Paper Recycling, Inc. v. ZBR Pub’ns., Inc., 1 Mass. L. Rptr. 587, 1994
WL 879724 (Mass. Super. Ct. Feb. 3, 1994).

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Those emails were prepared using USI’s confidential customer information. See

2020 Case, Doc. 93-1 at 177:3-178:12 (Tayor Anderson testifying he prepared the

unauthorized departure email using his USI contacts); 2020 Case, Doc. 92-1 at

171:21–172:13 (Roger Maldonado testifying he prepared the unauthorized departure

email using his contact list on his USI work computer). The evidence that the Former

Employees used their USI contact lists is relevant evidence in furtherance of the

tortious interference claims pending against Lockton. See Disaster Servs., Inc. v.

ERC P'ship, 228 Ga. App. 739, 741 (1997) (improper actions supporting tortious

interference “means wrongful action that ‘generally involve[s] predatory tactics such

as physical violence, fraud or misrepresentation, defamation, use of confidential

information, abusive civil suits, and unwarranted criminal prosecutions.’”) (quoting

Am. Bldgs. Co. v. Pascoe Bldg. Sys., 260 Ga. 346 (1990)) (emphasis added). This

and other similar evidence is relevant and admissible at trial.

      The Court should deny Lockton’s attempt to categorically exclude unspecified

evidence of the Former Employees’ improper use and misappropriation of USI’s

confidential information. The Court can decide evidentiary objections as necessary

when and if evidence is offered at trial. To the extent Lockton has objections to the




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designations of portions of Rikin Patel’s deposition, it can assert such objections

through the procedures outlined by the Court.

6.     The Court should deny Lockton’s sixth motion in limine requesting the
       exclusion of testimony Ms. Moore and Mr. Hanig.

     The Court should deny Lockton’s motion to exclude the testimony of Tracy

Moore and Paul Hanig both of whom were known and the subject of discovery

inquiries. Regarding Tracy Moore, Lockton incorrectly argues that she was not

disclosed in USI’s discovery responses. Ms. Moore, the Regional Chief Financial

Officer for USI, was identified in and verified USI’s responses to Defendant

Southeast Series of Lockton Companies, LLC’s Supplemental Interrogatories on

September 8, 2022. (A copy is attached hereto as Exhibit A.) Ms. Moore also was

identified in Lorna Gunnersen’s expert report submitted on behalf of USI in

November 2020 as the person who provided the revenue information on which Ms.

Gunnersen’s calculations were performed. See Lorna Gunnersen report dated

November 2, 2020 (2019 Case, Doc. 256-3) at ECF p. 16. Further, Ms. Gunnersen

testified in her deposition on February 3, 2021 that she relied on revenue information

provided by Ms. Moore in preparing her report. See February 3, 2021 Deposition of

Lorna Gunnersen (2019 Case, Doc. 256-2) at ECF pp. 5, 6, 7.) In fact, Ms. Moore

was referenced eight times in Ms. Gunnersen’s deposition. Thus, Ms. Moore was

disclosed in discovery responses, was known to Lockton’s counsel, and was the

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subject of inquiry during discovery. There is no surprise to Lockton or basis to

exclude her testimony.

      Paul Hanig is the subject of six discovery requests opposing counsel served

on USI in May 2020. See Plaintiffs’ Second Requests for Production of Documents,

dated May 8, 2020, Requests 29-35. (A copy is attached hereto as Exhibit B.)

Opposing counsel also asked questions about Mr. Hanig and emails to/from him in

the depositions opposing counsel took of Beverly Fant and Rob Meyers. See

November 11, 2020 Deposition of Beverly Fant (2019 Case, Doc 244) at 80, 91-92;

December 2, 2020 Deposition of Rob Meyers (2020 Case, Doc. 113) at 28, 37-40,

42-50; Exs. 13, 19, 20, 21, 22, 31.) Possible testimony from Mr. Hanig at trial is no

surprise. Lockton took discovery relating Mr. Hanig and it was not prevented from

deposing Mr. Hanig or Ms. Moore should they have chosen to do so.

      Respectfully submitted this 19th day of April, 2023.

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                      CERTIFICATE OF COMPLIANCE

       In compliance with N.D. Ga. LR 7.1(D) and 5.1(C)-(D), this opposition brief

has been prepared with a top margin of not less than one and one-half (1 ½) inches

and a left margin of not less than one (1) inch. This Opposition has been prepared in

Times New Roman 14-point font type and is within the 25-page limit as set forth in

the local rule.

       This 19th day of April, 2023.

                                PARKER, HUDSON, RAINER & DOBBS LLP

                                /s/ Jared C. Miller
                                Jared C. Miller




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      Case 1:20-cv-02490-VMC Document 235 Filed 04/19/23 Page 23 of 23




                         CERTIFICATE OF SERVICE

      I hereby certify that I have this day served a copy of the within and foregoing
USI INSURANCE SERVICES LLC’S RESPONSES TO SOUTHEAST
SERIES OF LOCKTON COMPANIES, LLC’S MOTIONS IN LIMINE (2020
CASE, DOC. 230) upon all parties to this matter by electronically filing a copy of
same with the Court’s CM/ECF system, which will automatically send an electronic
copy to the following counsel of record:


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